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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK


 SDN LIMITED and STEVEN NERAYOFF,

                               Plaintiffs,

                      -against-
                                                             Case No. _________
 IOV LABS LIMITED, RIF LABS LIMITED, RSK
 LABS LIMITED, DIEGO GUTIERREZ
 ZALDIVAR, and ALEJANDRO MARIA ABERG
 COBO a/k/a ALEX COBO,

                               Defendants.


                                    NOTICE OF REMOVAL

        PLEASE TAKE NOTICE that Defendants IOV Labs Limited, RIF Labs Limited, and

 RSK Labs Limited (collectively “Rootstock”), pursuant to the Federal Arbitration Act (“FAA”),

 9 U.S.C. §§ 203, 205, and 28 U.S.C. §§ 1331, 1332, 1441, and 1446, hereby remove to this Court

 the civil action captioned SDN Limited v. IOV Labs Limited, Index No. 607805/2024 (the State

 Court Action”) from the Supreme Court of the State of New York, County of Nassau to the

 United States District Court for the Eastern District of New York. By removing this action,

 Rootstock, and undersigned counsel acting on its behalf, appear for the limited purpose of

 removal and expressly reserve, and do not waive any and all defenses, including, without

 limitation, all defenses available under the Federal Rules of Civil Procedure. 1 In support of

 removal, Rootstock states as follows:




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    In particular, Rootstock does not waive any defenses relating to personal jurisdiction, venue,
 or whether the civil action should be the subject of arbitration, and does not concede that either
 the Supreme Court of the State of New York, County of Nassau or the United States District
 Court for the Eastern District of New York are the proper forum for this dispute.
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                                        BACKGROUND

        1.      On May 3, 2024, Plaintiffs SDN Limited and Steven Nerayoff filed a Summons

 With Notice (“Summons With Notice”) in the Supreme Court of the State of New York, County

 of Nassau, Index No. 607805/2024. Pursuant to 28 U.S.C. § 1446(a), true and correct copies of

 all process, pleadings, and orders provided to Rootstock in the State Court Action are attached to

 the Appendix of Exhibits Regarding Notice of Removal of Civil Action. A copy of the docket

 sheet from the State Court Action is attached hereto as Exhibit A. A copy of the Summons With

 Notice filed on May 3, 2024 is attached hereto as Exhibit B.

        2.      Defendant IOV Labs Limited (f/k/a RIF Labs Limited, and n/k/a Rootstock Labs

 Ltd.) was served in Gibraltar pursuant to the Hague Convention on August 2, 2024.

        3.      Defendant RSK Labs Limited was served in the British Virgin Islands (“BVI”)

 pursuant to the Hague Convention on August 12, 2024. Plaintiffs purported to serve RSK Labs

 Limited on July 26, 2024 by serving the Summons With Notice upon Raul Laprida in Tennessee,

 while Mr. Laprida presented at a conference. Mr. Laprida is not employed by RSK Labs

 Limited, which is a BVI entity. Rather, Mr. Laprida is employed by a separate Rootstock entity,

 Rootstock Labs UK Limited, which is a UK entity. Mr. Laprida is not a director or officer of any

 Rootstock entity, nor does he have management responsibilities for any Rootstock entity.

 Accordingly, Plaintiffs’ purported service on Mr. Laprida was ineffective.

        4.      Plaintiffs have not yet filed a full complaint, but the Summons With Notice

 purports to assert three causes of action against Defendants, including fraud, aiding-and-abetting

 fraud, and rescission.

        5.      As described below, this Court has original jurisdiction over this proceeding

 under 28 U.S.C. § 1331 and 9 U.S.C. §§ 203 and 205 because this action involves an arbitration




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 agreement that is governed by the Convention on the Recognition and Enforcement of Foreign

 Arbitral Awards of June 10, 1958 (9 U.S.C. §§ 201-208) (the “Convention” or “New York

 Convention”).

         6.      As an additional and independent ground for removal, this case is also properly

 removed to this Court pursuant to 28 U.S.C. §§ 1332 and 1441 because it is a civil action in

 which the amount in controversy exceeds the sum of $75,000, exclusive of costs and interest, and

 it is between citizens of different states.

 II.     REMOVAL IS TIMELY

         7.      This notice of removal is timely under 28 U.S.C. § 1446. Section 1446(b)(1)

 provides that a notice of removal “shall be filed within 30 days after the receipt by the defendant,

 through service or otherwise, of a copy of the initial pleading setting forth the relief upon which

 such action or proceeding is based.” 28 U.S.C. § 1446(b)(1).

         8.      Defendant RSK Labs Limited was properly served with the Summons With

 Notice on August 2, 2024, and Defendants IOV Labs Limited and RIF Labs Limited were

 properly served with the Summons With Notice on August 12, 2024. So, this removal is timely

 filed within 30 days of each Defendant’s receipt of the pleading.

                                    GROUNDS FOR REMOVAL

 III.    REMOVAL UNDER THE NEW YORK CONVENTION AND 28 U.S.C. § 1331

         9.      This Court has original jurisdiction of this action under the New York

 Convention.     9 U.S.C. § 203. The subject matter of this action relates to a certain Early

 Contribution Agreement entered into by SDN Limited that contains a mandatory arbitration

 provision that falls under the Convention.




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        10.      Chapter 2 of the FAA, 9 U.S.C. § 202, implements the Convention by providing

 that any “arbitration agreement or arbitral award arising out of a legal relationship, whether

 contractual or not, which is considered commercial, including a transaction, contract, or

 agreement described in [9 U.S.C. § 2], falls under the Convention.” 9 U.S.C. § 202; see 9 U.S.C.

 § 2 (“Validity, irrevocability, and enforcement of agreements to arbitrate”). In order to fall under

 the Convention, such an agreement or award must involve a party who is not a U.S. citizen or

 involve property or performance abroad. 9 U.S.C. § 202.

        11.      Removal is proper under § 205 of the Convention any time before trial “[w]here

 the subject matter of an action or proceeding pending in a State court relates to an arbitration

 agreement or award falling under the Convention.” 9 U.S.C. § 205. The “procedure for removal

 of causes otherwise provided by law shall apply, except that the ground for removal provided in

 this section need not appear on the face of the complaint but may be shown in the petition for

 removal.” Id.

        A.       The Early Contribution Agreement Contains An Arbitration Agreement
                 “Falling Under” The New York Convention

        12.      An arbitration agreement falls under the Convention when (i) it arises out of a

 legal relationship; (ii) which is commercial in nature, and (iii) which is not entirely domestic in

 scope, meaning here that the agreement is not entirely between citizens of the United States.

 Ministry of Def. of Islamic Republic of Iran v. Gould Inc., 887 F.2d 1357, 1362 (9th Cir. 1989)

 (citing 9 U.S.C. § 202). Each of these elements is satisfied here.

        13.      First, the Summons With Notice asserts several causes of action against

 Rootstock in connection with SDN Limited’s purchase of RIF tokens from RIF Labs Limited, a

 purchase made pursuant to the Early Contribution Agreement.             Section 18 of the Early

 Contribution Agreement contains an agreement to arbitrate that specifically provides that any



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 “disputes, claims, suits, actions, causes of action, demands or proceedings” arising out of or in

 connection with the Early Contribution Agreement “shall be referred to and finally resolved by

 arbitration under the rules of the London Court of International Arbitration” with a seat in

 Gibraltar.

        14.     Second, the arbitration agreement involves a “commercial relationship” as used

 within the meaning of the Convention. “In the field of international arbitration, ‘commercial’

 refers to matters or relationships, whether contractual or not, that arise out of or in connection

 with commerce.” Hum. v. Czech Republic-Ministry of Health, 824 F.3d 131, 136 (D.C. Cir.

 2016) (cleaned up) (interpreting the Convention) (citing Restatement (Third) of U.S. Law of Int’l

 Comm. Arbitration § 1–1 (2012)). Under the terms of the Early Contribution Agreement, SDN

 Limited contracted to purchase certain RIF Tokens from RIF Labs Limited. Compl. ¶ 9.

        15.     Finally, the parties to the Early Contribution Agreement include only foreign

 citizens—namely SDN Limited, which is a Cayman Islands entity, and RIF Labs Limited, a

 Gibraltar entity. Both the United States and Gibraltar are signatories to the Convention and the

 arbitration agreement provides for arbitration in a signatory country, namely, Gibraltar.

        B.      This Action “Relates To” The Arbitration Agreement In The Early
                Contribution Agreement

        16.     The subject matter of an action “relates to” an arbitration agreement under the

 Convention, within the meaning of 9 U.S.C. § 205, whenever “an arbitration agreement falling

 under the Convention could conceivably affect the outcome of the plaintiff’s case.” Infuturia

 Glob. Ltd. v. Sequus Pharms., Inc., 631 F.3d 1133, 1138 (9th Cir. 2011) (citing Beiser v. Weyler,

 284 F.3d 665, 669 (5th Cir. 2002)).         Section 205 thus provides for “sweeping removal

 jurisdiction.” Id.




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        17.     Here, although a full complaint has not yet been filed, the action plainly “relates

 to” the arbitration agreement in the Early Contribution Agreement. The Summons With Notices

 asserts that the action relates to SDN Limited’s purchase of RIF tokens, which purchase was

 made exclusively via the Early Contribution Agreement.

        18.     Accordingly, this Court has original jurisdiction over this matter pursuant to

 Chapter 2 of the FAA, which provides that a “proceeding falling under the Convention shall be

 deemed to arise under the laws and treaties of the United States” for which federal courts “shall

 have original jurisdiction.” 9 U.S.C. § 203.

 IV.    REMOVAL UNDER 28 U.S.C. § 1332 AND 1441

        19.     As a separate and independent basis for removal, this action is properly removed

 because there is complete diversity among the parties and the damages asserted exceed the

 amount in controversy threshold.

        A.      Complete Diversity Of Citizenship

        20.     Steven Nerayoff is an individual residing in New York.

        21.     While the Summons With Notice is silent as to SDN Limited’s citizenship, prior

 to entering into the Early Contribution Agreement, SDN Limited was required to complete a

 Know Your Customer (“KYC”) form, in which SDN Limited indicated it is a company

 incorporated under the laws of the Cayman Islands.

        22.     IOV Labs Limited and RIF Labs Limited, are prior names for an entity now

 known as Rootstock Labs Limited. Rootstock Labs Limited is a company incorporated under the

 laws of Gibraltar, with a principal place of business in Gibraltar.

        23.     RSK Labs Limited is a company incorporated under the laws of the BVI, with a

 principal place of business in the BVI.




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        24.      Diego Gutierrez Zaldivar (who has not yet been served) is a citizen and resident

 of Argentina.

        25.      Alejandro Maria Aberg Cobo (who has not yet been served) is a citizen of

 Argentina and resident of Uruguay.

        B.       The Amount In Controversy Requirement Is Met

        26.      This Court has subject matter jurisdiction in a diversity case when a fact finder

 could legally conclude, from the pleadings and proof adduced to the court before trial, that the

 damages the plaintiff suffered are greater than $75,000.

        27.      Plaintiffs seek a rescission award or, in the alternative, “an amount of monetary

 damages at the date of judgment not less than $100 million, plus interest, and the costs and

 disbursements of this action as the Court may award.” Summons With Notice at 2. Rescissory

 damages are properly included in the amount-in-controversy calculation. See, e.g., Long v.

 Aurora Bank, FSB, 2012 WL 2076842, at *1 (D. Nev. June 8, 2012) (including, as part of

 amount in controversy, the value of the contract that plaintiff was seeking to rescind); accord

 Diaz v. Carmax Auto Superstores California, LLC, 2015 WL 3756369, at *3 (E.D. Cal. June 16,

 2015), report and recommendation adopted, 2015 WL 4138995 (E.D. Cal. July 8, 2015) (“In

 actions for rescission, Courts have used the value of the object of the contract as the value of the

 rescission claim for the amount-in-controversy determination.”).

        28.      The relief requested in the Summons With Notice thus exceeds the $75,000

 threshold amount for removal jurisdiction.

 V.     OTHER PROCEDURAL REQUIREMENTS ARE SATISFIED

        29.      The United States District Court for the Eastern District of New York embraces

 Nassau County, the county in which the State Court Action is currently pending. Therefore, this




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 action is properly removed to the United States District Court for the Eastern District of New

 York pursuant to 28 U.S.C. §§ 105(a)(1) and 1441(a).

          30.    Rootstock will serve this Notice and Appendix on Plaintiffs and shall file a Notice

 of Filing of Notice of Removal with the Supreme Court of the State of New York, County of

 Nassau.

          31.    Pursuant to 28 U.S.C. § 1446(a), Rootstock attaches to this Notice true and

 correct copies of all process, pleadings, and orders in the State Court Action. See Exhibits A-M.

                                          *         *        *

          Accordingly, Rootstock respectfully removes this action to the United States District

 Court for the Eastern District of New York.




 Dated:     New York, New York                QUINN EMANUEL URQUHART & SULLIVAN,
            August 30, 2024                   LLP


                                              By:       _/s/ Michael B. Carlinsky_______________
                                                        Michael B. Carlinsky
                                                        Mario O. Gazzola
                                                        51 Madison Avenue, 22nd Floor
                                                        New York, New York 10010-1601
                                                        michaelcarlinsky@quinnemanuel.com
                                                        mariogazzola@quinnemanuel.com
                                                        212-849-7000

                                                        Attorneys for Defendants IOV Labs Limited,
                                                        RIF Labs Limited, and RSK Labs Limited




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